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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
SAI NGO NG §
§
v. § CIVIL ACTION NO, 3:20-CV-1454-S-BT
§
MARC MOORE, in his official §
capacity, Field Office Director §
ICE Enforcement and Removal §
Operations, Dallas, Texas, et al. §

ORDER
The United States Magistrate Judge made findings, conclusions and a recommendation in
this case. No objections were filed. The District Court reviewed the proposed findings,
conclusions and recommendation for plain error, Finding none, the Court ACCEPTS the Findings,
Conclusions and Recommendation of the United States Magistrate Judge.
SO ORDERED.

SIGNED November 5, 2020.

 

 

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

 

 
